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Filing # 70795449 E-Filed 04/17/2018 09:00:04 AM

IN THE CIRCUIT COURT OF TI~IE NIN'I'EENTH JUDICIAL CIRCU`IT
lN AND FOR MARION COUNTY, FLORIDA

CHRISTINA KACZAR
Plaintiff, CASE NUMBER:
Vs.

UNITED SERVICES AU'I`OMOBILE
ASSOCIATION and
USAA GENERAL INDEMNITY COMPANY

Defendants.
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COMES NOW the Plaintiff, CHRISTINA KACZAR, and sues Defendants, UNITED
SERVICES AU'I`OMOBILE ASSOCIATION (hereatter “USAA”) and USAA GENERAL

INDEMN]TY COMPANY (heneafter “H\TDEMI\II'I'Y”), and alleges:

l. This is an action for damages that exceeds 315,000.00 exclusive of costs and
attorney fees.

2. At all times material hereto, Plaintiff, CHRIST]NA KACZAR resided in, Marion
County, Florida.

3. At all times material hereto, Defendant, USAA, was authorized and doing
business in the State of Florida as an insurance company.

4. At all times material hereto, the Defendant, USAA, issued a policy of insurance,
policy number 37512438, providing uninsured/underinsured motor vehicle insurance coverage
and/or benefits to CHR]STINA KACZAR in the amount of $50,000 per person.

5. At all times material hereto, Defendant, INDEMNITY, was authorized and doing

business in the State of Florida as an insurance company.

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6. At all times material hereto, the Defendant, INDEMNITY, issued a policy of
insurance, policy number 3037512403671019, providing uninsured/underinsured motor vehicle
insurance coverage and/or benefits to CHRISTINA KACZAR in the amount of $50,000 per
person.

7. On or about March 26, 2017, on Interstate 75 in Marion County, Florida, Plaintiff,
CHR]STINA KACZAR, was involved in a motor vehicle accident when ANDREW BUIE, who
was an underinsured motorist, negligently caused his vehicle to crash onto the vehicle being
driven by Plaintiff, CHRISTINA KACZAR,

8. That as a result of motor vehicle accident described above, the Plaintiff,
CHRISTINA KACZAR, suffered multiple injuries and pain there li'orn, incurred medical
treatment for such injuries and expense of hospitalization and medical care and treatment, and
suffered physical handicap, disability, mental anguish, loss of capacity for the enjoyment of life,
loss of earnings, and her fixture working and earning capacity was impaired. These losses are
either permanent or continuing in nature, and the Plaintiff, CHRIST]NA KACZAR, will
continue to suffer such losses in the future.

9. The Plaintiff, CHRISTINA KACZAR, has complied with all conditions precedent
prior to bringing forth this cause of action.

COUNT I
.BREACH OF UNDERINSURED MOTORIST CONTRACT AGAINST DEFENDANT
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10. The Plaintiff, CHR]STlNA KACZAR, hereby incorporates and re-alleges
paragraphs one (l) through nine (9) as if fully set forth herein.

ll. This is an action for underinsured motorist benefits, by the Plaintiff, CHRISTINA

KACZAR, for damages sustained due to the negligence of an underinsured motorist.

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12. 'I'hat despite demands by the Plaintiff, CHRISTINA KACZAR, to date, the
Defendant, USAA, has refused and continues to reti.ise to honor the Plaintiff, CHRISTINA
KACZAR’s, request for payment under the applicable underinsured motorist provisions of the
USAA policy.

13. That the Plaintiff has demanded payment of underinsured motorist benefits from the
Defendant, USAA, but the Defendant has failed and refused to pay the same which is a breach of
the underinsurance contract with the Plaintiff.

14. 'I'hat as a result of the collision set forth herein, the Plaintiff, CHRISTINA
KACZAR, has suffered bodily injury and resulting pain and suffering, disability, disfigurement,
mental anguish, loss of capacity for the enjoyment of life, expense of hospitalization, medical
nursing care and treatment, lost wages, loss of ability to earn money, and aggravation of a
previously existing condition. The losses are either permanent or continuing in nature and the
Plaintiff will continue to suffer the losses in the idture.

WHEREFORE Plaintiff, CHRISTINA KACZAR, sues the Defendant, UNITED
SERVICES AUTOMOBILE ASSOCIATION, for compensatory damages in an amount within
the jurisdictional limits of this Court, to-wit: in excess ofFiReen Thousand (515,000.00) Dollars,

exclusive of interest and costs, and demands a trial by jury of all issues triable as a right by a

jury.

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.BREACH OF UNDERINSURED MO('I:`glI?Jll`IS'I'I"I(IZONTRACT AGAINST DEFENDANT
USAA GENERAL INDEMNITY COMPANY

15. The Plaintiff, CHRISTINA KACZAR, hereby incorporates and re-alleges
paragraphs one (l) through nine (9) as if iitlly set forth herein.

16. This is an action for underinsured motorist benefits, by the Plaintiff, CHRISTINA
KACZAR, for damages sustained due to the negligence of an underinsured motorist

17. That despite demands by the Plaintiff, CHRISTINA KACZAR, to date, the
Defendant, INDEMN]TY, has refused and continues to refuse to honor the Plaintiff, CHRISTINA
KACZAR’s, request for payment under the applicable underinsured motorist provisions of the
INDEMNI'IY policy.

18. That the Plaintiff has demanded payment of underinsured motorist benefits from the
Defendant, INDEMNITY, but the Defendant has failed and refused to pay the same which is a
breach of the underinsurance contract with the Plaintiff.

19. That as a result of the collision set forth herein, the Plaintiff, CHRISTINA
KACZAR, has suffered bodily injury and resulting pain and suffering, disability, disfigurement,
mental anguish, loss of capacity for the enjoyment of life, expense of hospitalization, medical
nursing care and treatment, lost wages, loss of ability to earn money, and aggravation of a
previously existing condition The losses are either permanent or continuing in nature and the
Plaintiff will continue to suffer the losses in the future.

WHEREFORE Plaintiff, CHRISTINA KACZAR, sues the Defendant, UNITED
SERVICES AUTOMOBILE ASSOCIATION GENERAL INDEMNITY COMPANY, for

compensatory damages in an amount within the jurisdictional limits of this Court, to-wit: in

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excess of Fifteen Thousand ($15,000.00) Dollars, exclusive of interest and costs, and demands a

trial by jury of all issues triable as a right by a jury.

RESPECTFULLY sUBMrrTED on this 17th day of April, 201 s.

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R. J'EREMY I-IILL, ESQ. (FBN: 65718)
The Pendas Law Firm

Attorney for the Plaintljf

625 E. Colonial Drive

Orlando, Florida 32803

Tel. 407-352-3535 Fax (407) 770-6066
Primary: jhill@p_endaslaw.com

Altemate: lcruz endaslaw.com

pleadings@pendaslaw.com

